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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CHELSEA KOENIG                                      CIVIL ACTION

                      v.                            NO. 16-1396

GRANITE CITY FOOD & BREWERY,
LTD.


                                              ORDER

         AND NOW, this 30th day of November 2017, consistent with our Court of Appeals'

guidance in Pansy v. Borough of Stroudsburg, 23 F. 3d 772 (3d Cir. 1994) and upon considering

the Plaintiffs Motion for leave to file the Declaration of Jeffrey Rager under seal (ECF Doc. No.

107) and our in camera review of Jeffrey Rager' s Declaration, it is ORDERED Plaintiffs Motion

(ECF Doc. No. 107) is DENIED as the parties may not preclude public disclosure of the entire

Declaration without articulated reasoning of why disclosure of the only arguably confidential

information - the status of Defendant's lending relationships - will work a clearly defined and

serious injury after the publicly traded Defendant disclosed its financial condition in public

filings. 1

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                                              KEARNEY, J.

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  The common law right of access to judicial proceedings and judicial records" is a right which our
court of appeals holds is "'beyond dispute."' LEAP Sys., Inc. v. MoneyTrax, Inc., 638 F.3d 216,
220 (3d Cir. 2011) (quoting Littlejohn v. Bic Corp., 851 F.2d 673, 677-78 (3d Cir.1988)). The
burden of justifying the confidentiality of each document sought to be covered by a protective
order remains on the party seeking the order. Id. at 1122. Right of access to judicial records is not
absolute. Id. at 221 (citing Nixon v. Warner Commc'ns, 435 U.S. 589, 598 (1978)).

We have "supervisory power over [our] own records and files" and may deny access "where court
files [may] become a vehicle for improper purposes." Id Our court of appeals permits us to seal
documents where justice requires. Id. Right of access "promotes public confidence in the
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judicial system by enhancing testimonial trustworthiness and the quality of justice dispensed by
the court." Id. A '"strong presumption' in favor of accessibility attaches to almost all documents
created in the course of civil proceedings." Id. (internal quotations omitted). Beyond evidence, the
common law right of access includes all judicial records and documents, "transcripts, evidence,
pleadings, and other materials submitted by litigants ... " United States v. Martin, 746 F.2d 964,
968 (3d Cir.1984).

We do not preclude public access absent particularized good cause. "Good cause is established on
a showing that disclosure will work a clearly defined and serious injury to the party seeking
closure. The injury must be shown with specificity." Publicker Indus., Inc. v. Cohen, 733 F.2d
1059, 1071 (3d Cir.1984). "Broad allegations of harm, unsubstantiated by specific examples or
articulated reasoning," do not support a good cause showing. Cipollone v. Liggett Group, Inc., 785
F.2d 1108, 1121 (3d Cir.1986), cert. denied, 484 U.S. 976 (1987).

The parties seek to redact Mr. Rager' s entire Declaration relating to his background, employment,
nature of negotiations and, in a few limited references, to the Defendant's present deteriorated
financial condition which he admits is also described in Defendant's "quarterly financial statement
filed with the OTC Markets."          This information in not confidential and we cannot find
particularly good cause to seal information filed in the market. The only close call is in
subparagraphs (a)(b)(c) to paragraph 11 and in paragraphs 12 and 13 where Mr. Rager arguably
discloses general information relating to its lending relationships. But Defendant does not
articulate a clearly defined and serious injury from disclosure of the status of its loan relationships
nor can we imagine how it could do so given its public filings. Absent a specific and clearly
defined and serious injury, we cannot preclude public access of financial information arguably
disclosed in part in public filings.




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